17-10751-mew                     Doc 3209-11                   Filed 05/15/18 Entered 05/15/18 08:54:56                                                     Exhibit J-2
                                                             Time Records Pg 1 of 38
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      February 5, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3480055
Cranberry Township, PA 16066                                                                  Services Through                     :      December 31, 2017




0236915.00034                      Non-adverse compliance and insurance advice



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $         23,310.00

CURRENT INVOICE DUE                                                                                                                              $         23,310.00

Trust Balance on this Matter: $870,330.92




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew   Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56      Exhibit J-2
                             Time Records Pg 2 of 38
                                                                      Invoice # 3480055
                                                                         0236915.00034
                                                                             Page 2 of 3

                                      FEES

DATE       NAME              HRS TASK        DESCRIPTION                    AMOUNT
12/05/17   R. W. Hosking     3.00 B110       Internal conferences and        2,100.00
                                             analysis regarding global
                                             immigration issues
12/07/17   R. W. Hosking      3.00 B110      Internal conferences            2,100.00
                                             regarding global
                                             immigration issues
12/07/17   R. W. Hosking      2.00 B110      Review immigration matters      1,400.00
                                             for client and prepare notes
12/11/17   R. W. Hosking      1.50 B110      Conferences with client         1,050.00
                                             regarding employees
12/11/17   R. W. Hosking      2.50 B110      Internal conferences            1,750.00
                                             regarding WEC employee
                                             issues
12/12/17   R. W. Hosking      0.50 B110      Conferences with client           350.00
                                             regarding bankruptcy
                                             management issues
12/12/17   R. W. Hosking      0.50 B110      Conferences with client           350.00
                                             regarding employee issues
12/12/17   R. W. Hosking      2.00 B110      Internal conferences and        1,400.00
                                             notes regarding bankruptcy
                                             management issues
12/13/17   R. W. Hosking      3.50 B110      Conferences and emails          2,450.00
                                             with client regarding new
                                             contract issues
12/15/17   R. W. Hosking      2.00 B110      Review and comment on           1,400.00
                                             interim fee application
12/15/17   R. W. Hosking      1.30 B110      Follow up analysis and            910.00
                                             notes regarding new
                                             contract issues
12/18/17   R. W. Hosking      1.20 B110      Conferences and emails            840.00
                                             with consultant regarding
                                             immigration issues
12/18/17   R. W. Hosking      1.60 B110      Internal conferences            1,120.00
                                             regarding immigration
                                             issues
12/20/17   R. W. Hosking      3.50 B110      Review SC litigation            2,450.00
                                             matters and prepare notes
                                             regarding same
12/21/17   R. W. Hosking      0.70 B110      Emails with Carl Voltz in         490.00
                                             Chicago office
12/21/17   R. W. Hosking      1.30 B110      Review litigation papers          910.00
                                             and analyze strategy
                                             regarding witness issues in
                                             SC litigation and provide
                                             internal advice regarding
                                             same
12/26/17   R. W. Hosking      0.80 B110      Emails with Carl Voltz in         560.00
17-10751-mew     Doc 3209-11       Filed 05/15/18 Entered 05/15/18 08:54:56     Exhibit J-2
                                 Time Records Pg 3 of 38
                                                                         Invoice # 3480055
                                                                            0236915.00034
                                                                                Page 3 of 3

DATE         NAME                 HRS TASK       DESCRIPTION                    AMOUNT
                                                 Chicago office
12/26/17     R. W. Hosking        2.40 B110      Review litigation papers        1,680.00
                                                 and analyze strategy
                                                 regarding witness issues in
                                                 SC litigation and provide
                                                 internal advice regarding
                                                 same
                             TOTAL FEES              33.30 hrs              $   23,310.00


                                  TIMEKEEPER SUMMARY

R. W. Hosking                         33.30 hrs at   $    700.00 / hr           23,310.00
                             TOTAL FEES              33.30 hrs             $    23,310.00



                                   TASK CODE SUMMARY

B110       Case Administration                       33.30 hrs                  23,310.00
                           TOTAL FEES                33.30 hrs             $    23,310.00
17-10751-mew                     Doc 3209-11                   Filed 05/15/18 Entered 05/15/18 08:54:56                                                     Exhibit J-2
                                                             Time Records Pg 4 of 38
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      April 30, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3508171
Cranberry Township, PA 16066                                                                  Services Through                     :      March 31, 2018




0236915.00035                      Moore Employment Claim



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $           1,058.00

CURRENT INVOICE DUE                                                                                                                              $           1,058.00




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew     Doc 3209-11      Filed 05/15/18 Entered 05/15/18 08:54:56      Exhibit J-2
                                Time Records Pg 5 of 38
                                                                         Invoice # 3508171
                                                                            0236915.00035
                                                                                Page 2 of 2

                                         FEES

DATE         NAME                HRS TASK       DESCRIPTION                    AMOUNT
03/12/18     M. E. Sawyer        0.40 L160      Call with opposing counsel       148.00
                                                to discuss potential
                                                settlement of employment
                                                claim
03/29/18     J. W. Coleman       1.30 L190      Attention to bankruptcy           910.00
                                                status
                            TOTAL FEES               1.70 hrs              $     1,058.00


                                 TIMEKEEPER SUMMARY

J. W. Coleman                        1.30 hrs at   $       700.00 / hr             910.00
M. E. Sawyer                         0.40 hrs at   $       370.00 / hr             148.00
                            TOTAL FEES                 1.70 hrs           $      1,058.00



                                 TASK CODE SUMMARY

L160       Settlement/Non-Binding ADR                  0.40 hrs                   148.00
L190       Other Case Assessment, Development          1.30 hrs                   910.00
           and
                           TOTAL FEES                  1.70 hrs           $      1,058.00
17-10751-mew                     Doc 3209-11                   Filed 05/15/18 Entered 05/15/18 08:54:56                                                     Exhibit J-2
                                                             Time Records Pg 6 of 38
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      February 5, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3479477
Cranberry Township, PA 16066                                                                  Services Through                     :      December 31, 2017




0236915.00036                      Internal Investigation



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $           9,304.00
Disbursements and Other Charges                                                                                                                  $           2,525.65

CURRENT INVOICE DUE                                                                                                                              $         11,829.65




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew    Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56     Exhibit J-2
                              Time Records Pg 7 of 38
                                                                      Invoice # 3479477
                                                                         0236915.00036
                                                                             Page 2 of 3

                                       FEES

DATE       NAME               HRS TASK        DESCRIPTION                    AMOUNT
12/01/17   T. C. Ryan         3.70 L120       Review and revise draft of      2,590.00
                                              memorandum for debtor's
                                              counsel regarding claim
                                              strategy
12/05/17   T. C. Ryan          0.90 L120      Review and revise draft          630.00
                                              letter regarding review of
                                              auditor work papers
12/07/17   T. C. Ryan          0.60 L120      Conference with client           420.00
                                              regarding auditor work
                                              paper review
12/08/17   A. R. Cashman       3.20 L320      Prepare for and review          1,184.00
                                              documents of external
                                              auditor for bankruptcy
                                              process
12/10/17   T. C. Ryan          0.40 L120      Review proposed revisions        280.00
                                              to bidder review letter
12/11/17   T. C. Ryan          1.10 L120      Conference with client           770.00
                                              regarding due diligence
                                              requests from bankruptcy
                                              process
12/20/17   T. C. Ryan          2.70 L120      Review information              1,890.00
                                              regarding claim strategies
                                              at the request of debtor's
                                              counsel
12/21/17   T. C. Ryan          2.20 L120      Review and analyze claim        1,540.00
                                              strategy at the request of
                                              debtor's counsel
                        TOTAL FEES                14.80 hrs              $    9,304.00


                              TIMEKEEPER SUMMARY

A. R. Cashman                     3.20 hrs at    $    370.00 / hr             1,184.00
T. C. Ryan                       11.60 hrs at    $    700.00 / hr             8,120.00
                        TOTAL FEES               14.80 hrs              $     9,304.00
17-10751-mew   Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56   Exhibit J-2
                             Time Records Pg 8 of 38
                                                                  Invoice # 3479477
                                                                     0236915.00036
                                                                         Page 3 of 3


                              TASK CODE SUMMARY

L120    Analysis/Strategy                       11.60 hrs                 8,120.00
L320    Document Production                      3.20 hrs                 1,184.00
                         TOTAL FEES             14.80 hrs           $     9,304.00


                      DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                               AMOUNT
Translation Fees                                                           2,503.80
Westlaw Research                                                              21.85
                       DISBURSEMENTS & OTHER CHARGES                $      2,525.65
17-10751-mew                  Doc 3209-11                Filed 05/15/18 Entered 05/15/18 08:54:56                                             Exhibit J-2
                                                       Time Records Pg 9 of 38

                                      K&L GATES LLP
                                      925 FOURTH AVENUE
                                      SUITE 2900
                                      SEATTLE, WA 98104-1158
                                      T 206.623.7580 F 206.623.7022 klgates.com
                                      Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                          Invoice Date                     :     January 11, 2018
1000 Westinghouse Drive                                                                Invoice Number                   :     3471044
Cranberry Township, PA 16066                                                           Services Through                 :     December 31, 2017
                                                                                       Our File Number                  :     0236915




                                                   INVOICE SUMMARY BY MATTER

Internal Investigation - e-DAT (70036)

       Fees                                                                        $             725.00
       Total Amount Due This Matter                                                                                                $              725.00



CURRENT INVOICE DUE - All Matters                                                                                                   $             725.00




This invoice reflects fees and costs not previously billed. Past due balances, if any, will be shown on a separate statement of account at the beginning of the
next month. Payment is due in U.S. dollars upon receipt. Funds may be wired to our account number 153557906580 US Bank, Private Financial Services, 1420
5 th Ave. Suite 2100, Seattle, WA 98101, ABA Routing Number 125000105, SWIFT Code: USBKUS44IMT. Check payments should be sent to K&L Gates LLP,
RCAC, 925 Fourth Ave., Suite 2900, Seattle, WA 98104-1158.
17-10751-mew            Doc 3209-11          Filed 05/15/18 Entered 05/15/18 08:54:56                            Exhibit J-2
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                                                                                                       Invoice # 3471044
                                                                                                                 0236915
                                                                                                              Page 2 of 2



Internal Investigation - e-DAT (70036)                                                                          $725.00


                                                           FEES

DATE             NAME                            HOURS         DESCRIPTION                                      AMOUNT
12/07/17         R. P. Treglia                    2.10         Create metadata load files for                     525.00
                                                               the production to the SEc per
                                                               the request of A. Cashman
12/07/17         R. P. Treglia                     0.80        Provide machine language                             200.00
                                                               translation for additional
                                                               documents per the request of J.
                                                               Georges
                                    TOTAL FEES                           2.90 hrs             $                     725.00


                                             TIMEKEEPER SUMMARY

R. P. Treglia                                2.90 hrs at                  $       250.00 / hr                       725.00
                                    TOTAL FEES                                2.90 hrs                   $          725.00


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                                                 MATTER SUMMARY

Fees                                                                                                     $          725.00
MATTER TOTAL                                                                                             $          725.00
17-10751-mew                     Doc 3209-11                 Filed 05/15/18 Entered 05/15/18 08:54:56                                                       Exhibit J-2
                                                           Time Records Pg 11 of 38
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      February 28, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3485634
Cranberry Township, PA 16066                                                                  Services Through                     :      January 31, 2018




0236915.00036                      Internal Investigation



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $           1,960.00

CURRENT INVOICE DUE                                                                                                                              $           1,960.00




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew     Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56       Exhibit J-2
                               Time Records Pg 12 of 38
                                                                         Invoice # 3485634
                                                                            0236915.00036
                                                                                Page 2 of 2

                                         FEES

DATE         NAME               HRS TASK        DESCRIPTION                    AMOUNT
01/01/18     T. C. Ryan         2.80 L120       Coordinate response with        1,960.00
                                                audit committee chairman
                                                to inquiry from co-counsel
                          TOTAL FEES                 2.80 hrs              $     1,960.00


                                TIMEKEEPER SUMMARY

T. C. Ryan                         2.80 hrs at     $       700.00 / hr          1,960.00
                          TOTAL FEES                   2.80 hrs           $     1,960.00



                                 TASK CODE SUMMARY

L120       Analysis/Strategy                           2.80 hrs                 1,960.00
                            TOTAL FEES                 2.80 hrs           $     1,960.00
17-10751-mew                     Doc 3209-11                 Filed 05/15/18 Entered 05/15/18 08:54:56                                                       Exhibit J-2
                                                           Time Records Pg 13 of 38

                                          K&L GATES LLP
                                          925 FOURTH AVENUE
                                          SUITE 2900
                                          SEATTLE, WA 98104-1158
                                          T 206.623.7580 F 206.623.7022 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                  Invoice Date                         :      March 29, 2018
1000 Westinghouse Drive                                                                        Invoice Number                       :      3491306
Cranberry Township, PA 16066                                                                   Services Through                     :      February 28, 2018
                                                                                               Our File Number                      :      0236915




                                                       INVOICE SUMMARY BY MATTER

Internal Investigation - e-DAT (70036)

        Fees                                                                               $              825.00
        Total Amount Due This Matter                                                                                                             $               825.00



CURRENT INVOICE DUE - All Matters                                                                                                                $               825.00




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew            Doc 3209-11          Filed 05/15/18 Entered 05/15/18 08:54:56                            Exhibit J-2
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                                                                                                       Invoice # 3491306
                                                                                                                 0236915
                                                                                                              Page 2 of 2



Internal Investigation - e-DAT (70036)                                                                          $825.00


                                                           FEES

DATE             NAME                            HOURS         DESCRIPTION                                      AMOUNT
02/02/18         R. P. Treglia                    1.40         Extract ESI from ringtail in                       350.00
                                                               preparation for a witness
                                                               deposition per the request of J.
                                                               Georges
02/05/18         R. P. Treglia                     1.30        Provide J. Georges with                              325.00
                                                               information for documents
                                                               provided for witness prep
02/08/18         K. R. Slavik                      0.60        Perform complex searches in                          150.00
                                                               Ringtail database to locate
                                                               requested document and
                                                               determine specific content
                                                               values at the request of E.
                                                               Phillips
                                    TOTAL FEES                           3.30 hrs               $                   825.00


                                             TIMEKEEPER SUMMARY

K. R. Slavik                                 0.60 hrs at                  $       250.00 / hr                       150.00
R. P. Treglia                                2.70 hrs at                  $       250.00 / hr                       675.00
                                    TOTAL FEES                                3.30 hrs                   $          825.00


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                                                 MATTER SUMMARY

Fees                                                                                                     $          825.00
MATTER TOTAL                                                                                             $          825.00
17-10751-mew                     Doc 3209-11                 Filed 05/15/18 Entered 05/15/18 08:54:56                                                       Exhibit J-2
                                                           Time Records Pg 15 of 38

                                          K&L GATES LLP
                                          925 FOURTH AVENUE
                                          SUITE 2900
                                          SEATTLE, WA 98104-1158
                                          T 206.623.7580 F 206.623.7022 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                  Invoice Date                         :      April 30, 2018
1000 Westinghouse Drive                                                                        Invoice Number                       :      3504425
Cranberry Township, PA 16066                                                                   Services Through                     :      March 31, 2018
                                                                                               Our File Number                      :      0236915




                                                       INVOICE SUMMARY BY MATTER

Internal Investigation - e-DAT (70036)

        Fees                                                                               $              750.00
        Disbursements and Other Charges                                                    $               27.29
        Total Amount Due This Matter                                                                                                             $               777.29



CURRENT INVOICE DUE - All Matters                                                                                                                $               777.29




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew            Doc 3209-11          Filed 05/15/18 Entered 05/15/18 08:54:56                            Exhibit J-2
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                                                                                                       Invoice # 3504425
                                                                                                                 0236915
                                                                                                              Page 2 of 2



Internal Investigation - e-DAT (70036)                                                                          $777.29


                                                           FEES

DATE             NAME                            HOURS         DESCRIPTION                                      AMOUNT
03/05/18         R. P. Treglia                    0.80         Submit documents for tiff                          200.00
                                                               conversion per the request of J.
                                                               Veintimilla
03/05/18         R. P. Treglia                     1.60        Organize and provide for J.                          400.00
                                                               Veintimilla produced documents
                                                               from a binder to be extracted as
                                                               pdf files for review
03/15/18         R. P. Treglia                     0.60        Process documents in a foreign                       150.00
                                                               language for translation utilizing
                                                               the machine language tool
                                    TOTAL FEES                            3.00 hrs               $                  750.00


                                             TIMEKEEPER SUMMARY

R. P. Treglia                                3.00 hrs at                  $       250.00 / hr                       750.00
                                    TOTAL FEES                                3.00 hrs                   $          750.00


                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
03/31/18         ESI Conversion: Convert 0.05458 GB to TIFF images @ $500/GB:                                         27.29
                 $27.29
                              DISBURSEMENTS & OTHER CHARGES                  $                                        27.29

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                                                 MATTER SUMMARY

Fees                                                                                                     $          750.00
Disbursements and Other Charges                                                                          $           27.29
MATTER TOTAL                                                                                             $          777.29
17-10751-mew                     Doc 3209-11                 Filed 05/15/18 Entered 05/15/18 08:54:56                                                       Exhibit J-2
                                                           Time Records Pg 17 of 38
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      February 5, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3479478
Cranberry Township, PA 16066                                                                  Services Through                     :      December 31, 2017




0236915.00043                      Non-adverse corporate matters



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $         32,653.00
Disbursements and Other Charges                                                                                                                  $             86.15

CURRENT INVOICE DUE                                                                                                                              $         32,739.15




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew    Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56         Exhibit J-2
                              Time Records Pg 18 of 38
                                                                          Invoice # 3479478
                                                                             0236915.00043
                                                                                 Page 2 of 6

                                          FEES

DATE       NAME                  HOURS      DESCRIPTION                         AMOUNT
12/01/17   R.M. Fallon            3.60      Work on professional fee              900.00
                                            spreadsheet for second interim
                                            fee application
12/01/17   A. R. D. Paine          0.70     Review and summarize new               259.00
                                            docket entries representing
                                            significant developments in
                                            bankruptcy case over the past
                                            week and circulate summary to
                                            interested attorneys
12/04/17   N. A. Stockey           0.60     Review SEC narrative and               222.00
                                            materials for testimony
                                            preparation
12/05/17   R.M. Fallon             0.30     Correspond with T. Ryan and J.           75.00
                                            Wright regarding fee application
                                            disbursements related to AFA
12/05/17   R.M. Fallon             0.40     Discuss with D. Mawhinney              100.00
                                            monthly fee statement
                                            payments and update
                                            professional fee spreadsheet re
                                            same for second interim fee
                                            application purposes
12/05/17   R.M. Fallon             4.70     Work on spreadsheet of fees          1,175.00
                                            and disbursements for second
                                            interim fee application including
                                            exhibits thereto
12/05/17   J. A. Wright III        0.10     Email T. Ryan regarding WEC              70.00
                                            invoices
12/06/17   R.M. Fallon             2.60     Work on second interim fee             650.00
                                            application spreadsheet and
                                            exhibits
12/06/17   S. T. Nylen             1.40     Review invoices and draft              980.00
                                            narrative for interim fee
                                            application
12/08/17   R.M. Fallon             2.60     Attend to preparation of second        650.00
                                            interim fee application exhibits
12/09/17   J. A. Wright III        2.00     Review and revise November           1,400.00
                                            invoices.
12/11/17   R.M. Fallon             0.20     Meet with D. Mawhinney and A.            50.00
                                            Paine regarding second interim
                                            fee application
12/11/17   R.M. Fallon             2.00     Attention to November fee              500.00
                                            statement
12/11/17   D. A. Mawhinney         0.40     Confer with A. Paine, B. Fallon        148.00
                                            regarding Second Interim Fee
                                            App
12/11/17   A. R. D. Paine          0.50     Meet with D. Mawhinney to              185.00
                                            discuss blended rate exhibit for
                                            Second Interim Fee Application
17-10751-mew    Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56        Exhibit J-2
                              Time Records Pg 19 of 38
                                                                         Invoice # 3479478
                                                                            0236915.00043
                                                                                Page 3 of 6

DATE       NAME                  HOURS    DESCRIPTION                          AMOUNT
12/11/17   J. A. Wright III       0.70    Draft narrative for second             490.00
                                          interim fee application.
12/12/17   R.M. Fallon             1.50   Attention to second interim fee         375.00
                                          application exhibits
12/13/17   D. A. Mawhinney         0.10   Draft email to T. Ryan regarding          37.00
                                          fee application narratives
12/13/17   D. A. Mawhinney         0.80   Draft narratives for second             296.00
                                          interim fee application
12/14/17   D. A. Mawhinney         0.80   Participate in call with T. Ryan        296.00
                                          to discuss fee narratives
12/14/17   D. A. Mawhinney         0.10   Draft fee narratives                     37.00
12/14/17   J. A. Wright III        0.80   Call with T. Ryan and D.                560.00
                                          Mawhinney regarding interim
                                          fee application revisions.
12/15/17   D. A. Mawhinney         3.40   Draft and revise narratives for       1,258.00
                                          second interim fee application
12/18/17   R.M. Fallon             0.20   Update professional fee                   50.00
                                          statement regarding receipt of
                                          payment
12/18/17   D. A. Mawhinney         2.90   Draft Exhibit F narratives for        1,073.00
                                          incorporation in second interim
                                          fee application
12/18/17   S. T. Nylen             1.00   Draft interim fee application           700.00
                                          narratives
12/19/17   R.M. Fallon             3.20   Update professional fee                 800.00
                                          spreadsheet re November
                                          professional fees and monthly
                                          fee statement
12/19/17   R.M. Fallon             0.20   Follow up with B. Szafranski re           50.00
                                          November fee statement
12/19/17   T. C. Ryan              0.70   Address conflict issue                  490.00
12/20/17   R.M. Fallon             4.00   Work on interim fee statement         1,000.00
                                          and exhibits
12/20/17   R.M. Fallon             2.00   Work on November fee                    500.00
                                          statement and exhibits
12/20/17   D. A. Mawhinney         0.20   Revise fee narrative                     74.00
12/20/17   J. A. Wright III        0.60   Revise narratives for fee               420.00
                                          application.
12/21/17   R.M. Fallon             6.80   Work on 2nd interim fee               1,700.00
                                          statement and exhibits
12/21/17   R.M. Fallon             1.00   Work on revisions to November           250.00
                                          fee statement
12/21/17   A. R. D. Paine          1.70   Coordinate with billing                 629.00
                                          department for gathering
                                          information needed regarding
                                          blended hourly rates billed by
                                          attorneys for inclusion in interim
                                          fee application, and review
                                          docket entries related to same
17-10751-mew    Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56       Exhibit J-2
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                                                                           0236915.00043
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DATE       NAME                  HOURS    DESCRIPTION                          AMOUNT
12/22/17   R.M. Fallon            1.80    Prepare November fee                   450.00
                                          statement and cover letter
12/22/17   R.M. Fallon             5.20   Work on revisions to second          1,300.00
                                          interim fee statement and
                                          related exhibits
12/22/17   D. A. Mawhinney         0.10   Review A. Paine email                    37.00
                                          regarding blended hourly rates
12/22/17   D. A. Mawhinney         0.70   Review and revise November             259.00
                                          Fee Statement
12/22/17   A. R. D. Paine          0.90   Review and summarize new               333.00
                                          docket entries representing
                                          significant developments in
                                          bankruptcy case over the past
                                          week and circulate summary to
                                          interested attorneys
12/26/17   R.M. Fallon             6.50   Work on second interim fee           1,625.00
                                          application time charts for
                                          narratives and exhibits
12/26/17   A. R. D. Paine          0.30   Collecting data regarding              111.00
                                          blended billing rates for
                                          inclusion in interim fee
                                          application
12/27/17   R.M. Fallon             4.00   Work on 2nd interim fee              1,000.00
                                          summaries and time charts
12/27/17   R.M. Fallon             1.40   Finalize November fee                  350.00
                                          statement and cover letter and
                                          exhibits
12/27/17   D. A. Mawhinney         0.70   Revise and file November Fee           259.00
                                          Statement
12/27/17   D. A. Mawhinney         0.60   Further revisions to narratives        222.00
                                          for second interim fee
                                          application
12/27/17   J. A. Wright III        1.00   Revise narratives for second           700.00
                                          interim fee application
12/27/17   J. A. Wright III        0.20   Email T. Ryan regarding fee            140.00
                                          application
12/27/17   J. A. Wright III        0.20   Call with D. Mawhinney                 140.00
                                          regarding fee application
12/28/17   R.M. Fallon             0.20   Correspond with D. Anundson              50.00
                                          regarding fee payments
12/28/17   R.M. Fallon             3.40   Review fee spreadsheet and             850.00
                                          populate timekeeper charts in
                                          interim fee application narratives
12/28/17   R.M. Fallon             1.40   Review invoice and payment             350.00
                                          report and reconcile fee and
                                          disbursement payments for
                                          interim fee application
12/28/17   R.M. Fallon             2.00   Update interim fee application         500.00
                                          exhibits
17-10751-mew       Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56         Exhibit J-2
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DATE        NAME                    HOURS      DESCRIPTION                         AMOUNT
12/28/17    D. A. Mawhinney          0.10      Revise exhibit F fee narratives         37.00
12/28/17    D. A. Mawhinney          3.90      Revise Second Interim Fee            1,443.00
                                               Application
12/28/17    D. A. Mawhinney           3.00     Review of time entries in            1,110.00
                                               preparation of Second Interim
                                               Fee Application
12/28/17    D. A. Mawhinney           0.30     Review exhibits to Second              111.00
                                               Interim Fee Application
12/28/17    A. R. D. Paine            1.80     Review and revise exhibits for         666.00
                                               Second Interim Fee Application
12/29/17    R.M. Fallon               4.50     Finish draft of Second Interim       1,125.00
                                               Fee Application regarding time
                                               and expense summaries and
                                               exhibits
12/29/17    D. A. Mawhinney           0.80     Revise Exhibit I blended rate          296.00
                                               comparison for second interim
                                               fee app
12/29/17    D. A. Mawhinney           0.50     Discuss history of fee payments        185.00
                                               during Compensation Period
                                               with B. Fallon
12/29/17    D. A. Mawhinney           0.80     Review and revise budget and           296.00
                                               staffing plan exhibits
12/29/17    A. R. D. Paine            0.70     Review and summarize new               259.00
                                               docket entries representing
                                               significant developments in
                                               bankruptcy case over the past
                                               week and circulate summary to
                                               interested attorneys
                             TOTAL FEES                101.80 hrs              $   32,653.00


                                  TIMEKEEPER SUMMARY

R.M. Fallon                           65.70   hrs at    $    250.00   / hr         16,425.00
D. A. Mawhinney                       20.20   hrs at    $    370.00   / hr          7,474.00
S. T. Nylen                            2.40   hrs at    $    700.00   / hr          1,680.00
A. R. D. Paine                         6.60   hrs at    $    370.00   / hr          2,442.00
T. C. Ryan                             0.70   hrs at    $    700.00   / hr            490.00
N. A. Stockey                          0.60   hrs at    $    370.00   / hr            222.00
J. A. Wright III                       5.60   hrs at    $    700.00   / hr          3,920.00
                             TOTAL FEES                101.80 hrs             $    32,653.00
17-10751-mew   Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56   Exhibit J-2
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                                                                     0236915.00043
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                     DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                               AMOUNT
Local Courier                                                                 4.77
Long Distance Courier                                                       79.85
Telephone / Conference Calls / Fx Line Trans                                  1.53
                         DISBURSEMENTS & OTHER CHARGES              $        86.15
17-10751-mew                     Doc 3209-11                 Filed 05/15/18 Entered 05/15/18 08:54:56                                                       Exhibit J-2
                                                           Time Records Pg 23 of 38
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      February 28, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3485635
Cranberry Township, PA 16066                                                                  Services Through                     :      January 31, 2018




0236915.00043                      Non-adverse corporate matters



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $         30,622.00

CURRENT INVOICE DUE                                                                                                                              $         30,622.00




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew    Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56        Exhibit J-2
                              Time Records Pg 24 of 38
                                                                         Invoice # 3485635
                                                                            0236915.00043
                                                                                Page 2 of 6

                                          FEES

DATE       NAME                  HOURS      DESCRIPTION                        AMOUNT
01/01/18   R. W. Hosking          0.20      Conference/email with client         140.00
                                            regarding contract matter
01/01/18   R. W. Hosking           1.50     Review all matters for              1,050.00
                                            contract/cure purposes
01/02/18   R.M. Fallon             7.30     Work on fee statement and           1,825.00
                                            interim compensation revisions
01/02/18   R. W. Hosking           1.50     Review all matters and prepare      1,050.00
                                            notes for contract/cure
01/02/18   D. A. Mawhinney         0.10     Discuss fee statement with J.           37.00
                                            Wright
01/02/18   D. A. Mawhinney         2.20     Further revisions to fee              814.00
                                            application and narratives
01/02/18   D. A. Mawhinney         0.20     Discuss outstanding items on            74.00
                                            fee application with J. Wright
01/02/18   D. A. Mawhinney         0.30     Further revisions to exhibits to      111.00
                                            fee application
01/02/18   D. A. Mawhinney         0.20     Discuss fee narratives with T.          74.00
                                            Ryan
01/02/18   T. C. Ryan              0.70     Review and revise draft Second        490.00
                                            Interim Fee Application
01/02/18   J. A. Wright III        0.30     Call with T. Ryan regarding           210.00
                                            second interim fee application
                                            and invoices
01/02/18   J. A. Wright III        2.20     Review and revise invoices          1,540.00
                                            regarding confidentiality and
                                            privilege issues
01/02/18   J. A. Wright III        0.20     Conf. with D. Mawhinney               140.00
                                            regarding invoice revisions
01/02/18   J. A. Wright III        0.50     Confs. with D. Mawhinney              350.00
                                            regarding invoice revisions and
                                            ECF issues
01/02/18   J. A. Wright III        0.40     Call with T. Ryan and D.              280.00
                                            Mawhinney regarding fee
                                            statement
01/02/18   J. A. Wright III        0.50     Review claims objection and           350.00
                                            emails with T. Ryan regarding
                                            same
01/03/18   R.M. Fallon             0.50     Review and compare time               125.00
                                            records for D. Mawhinney and
                                            T. Ryan
01/03/18   R.M. Fallon             0.30     Review revised fee statement            75.00
                                            with D. Mawhinney
01/03/18   D. A. Mawhinney         0.60     Review and revise time entries        222.00
01/03/18   D. A. Mawhinney         0.60     Revise exhibits to fee                222.00
                                            application in response to
                                            discussion with UST
01/03/18   D. A. Mawhinney         0.90     Draft email to T. Ryan regarding      333.00
17-10751-mew    Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56       Exhibit J-2
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DATE       NAME                  HOURS    DESCRIPTION                         AMOUNT
                                          revisions to time entries
01/03/18   T. C. Ryan              1.10   Review and revise monthly fee          770.00
                                          statement
01/03/18   J. A. Wright III        0.20   Confs. with D. Mawhinney               140.00
                                          regarding fee statement
01/03/18   J. A. Wright III        0.20   Review second interim fee              140.00
                                          application
01/05/18   A. R. D. Paine          1.40   Review and summarize new               518.00
                                          docket entries representing
                                          significant developments in
                                          bankruptcy case over the past
                                          week and circulate summary to
                                          interested attorneys
01/08/18   R. W. Hosking           0.30   Emails/conference with C. Volz         210.00
01/08/18   A. R. D. Paine          0.10   Provide copy of expert report           37.00
                                          discussed in docket summary to
                                          T. Ryan
01/09/18   L. C. Lanpher           0.30   Emails with T. Ryan regarding          210.00
                                          due diligence inquiry
01/10/18   L. C. Lanpher           0.20   Attention to obtaining and             140.00
                                          sending to T. Ryan the prior
                                          investigative report
01/10/18   A. R. D. Paine          1.30   Review docket entries and              481.00
                                          collect copies of all filings and
                                          motions related to specific claim
01/11/18   R.M. Fallon             0.20   Provide D. Mawhinney with fee            50.00
                                          statement comparisons
01/11/18   J. A. Wright III        0.20   Confs. with D. Mawhinney               140.00
                                          regarding December invoice
                                          review
01/11/18   J. A. Wright III        0.30   Email T. Ryan regarding invoice        210.00
                                          review issues
01/12/18   D. A. Mawhinney         1.60   Draft Budget and Staffing plan         592.00
                                          for December - March 2018
01/12/18   A. R. D. Paine          1.60   Review and summarize new               592.00
                                          docket entries representing
                                          significant developments in
                                          bankruptcy case over the past
                                          week and circulate summary to
                                          interested attorneys
01/16/18   A. R. D. Paine          0.70   Locate and circulate fee               259.00
                                          statements filed by special
                                          counsel retained by committee
                                          of debtors' board of directors
01/17/18   R. W. Hosking           1.40   Address contract/cure issues           980.00
01/19/18   R. W. Hosking           0.50   Conference and information             350.00
                                          from client regarding contract
                                          project and preparation of notes
                                          regarding same
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                                                                           0236915.00043
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DATE       NAME                  HOURS    DESCRIPTION                         AMOUNT
01/19/18   A. R. D. Paine         2.10    Review and summarize new              777.00
                                          docket entries representing
                                          significant developments in
                                          bankruptcy case over the past
                                          week and circulate summary to
                                          interested attorneys and discuss
                                          same with D. Mawhinney
01/23/18   R.M. Fallon             0.20   Meet and discuss with J. Wright          50.00
                                          preparing a supplemental
                                          disclosure schedule to our
                                          employment application
01/23/18   R.M. Fallon             0.70   Review and follow up on reports        175.00
                                          regarding new client
                                          relationships with involved
                                          parties for disclosure related to
                                          employment application
01/23/18   T. M. Reiter            0.80   Review emails and conference           560.00
                                          with T. Ryan
01/23/18   T. C. Ryan              1.20   Review and revise fee                  840.00
                                          statement and interim fee
                                          application
01/23/18   T. C. Ryan              1.10   Conferences with T. Reiter             770.00
                                          regarding insurance issues
01/23/18   J. A. Wright III        0.50   Call with T. Ryan regarding            350.00
                                          second interim fee application
01/24/18   R.M. Fallon             1.30   Follow up and review reports           325.00
                                          and emails re supplemental
                                          disclosure to employment
                                          application and affidavit
01/24/18   T. M. Reiter            1.80   Review claim materials and           1,260.00
                                          conference with T. Ryan
                                          regarding same
01/24/18   T. C. Ryan              1.00   Review and revise fee                  700.00
                                          statement and interim quarterly
                                          budget
01/24/18   J. A. Wright III        0.10   Conf. with R. Fallon regarding           70.00
                                          supplemental disclosures
01/24/18   J. A. Wright III        0.30   Emails with A. Asher regarding         210.00
                                          supplemental disclosures
01/24/18   J. A. Wright III        0.20   Revise supplemental disclosure         140.00
                                          declaration
01/25/18   R.M. Fallon             0.40   Update disclosure schedule             100.00
01/25/18   T. C. Ryan              0.70   Review and revise budget and           490.00
                                          second interim fee application
01/26/18   A. R. D. Paine          2.40   Review and summarize new               888.00
                                          docket entries representing
                                          significant developments in
                                          bankruptcy case over the past
                                          week and circulate summary to
17-10751-mew    Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56      Exhibit J-2
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                                                                       Invoice # 3485635
                                                                          0236915.00043
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DATE       NAME                  HOURS    DESCRIPTION                        AMOUNT
                                          interested attorneys
01/26/18   T. M. Reiter            1.80   Review insurer correspondence       1,260.00
                                          and correspond with client
01/26/18   T. C. Ryan              1.10   Address disclosure statement          770.00
                                          with debtor's counsel
01/29/18   R.M. Fallon             0.20   Correspond with S. Ng and               50.00
                                          discuss supplemental
                                          disclosures for employment
                                          application with J. Wright
01/29/18   R.M. Fallon             0.10   Call with T. Doyle regarding            25.00
                                          December disbursements
                                          related to December fee
                                          statement
01/29/18   A. R. D. Paine          0.30   Organize and circulate filings        111.00
                                          and court orders relating to
                                          debtor's proposed sale of
                                          construction equipment and
                                          supplies at construction project
                                          sites
01/29/18   T. C. Ryan              0.70   Review correspondence from            490.00
                                          insurer regarding employment
                                          matter
01/29/18   J. A. Wright III        1.50   Review and revise December          1,050.00
                                          invoices
01/29/18   J. A. Wright III        0.30   Call with T. Ryan regarding           210.00
                                          invoice revisions
01/29/18   J. A. Wright III        0.10   Review and revise budget                70.00
01/29/18   J. A. Wright III        0.10   Email R. Hosking regarding              70.00
                                          budget revisions
01/30/18   T. M. Reiter            0.60   Conference with T. Ryan               420.00
                                          regarding employment claim
                                          and review insurance materials
01/30/18   T. C. Ryan              0.50   Review December fee                   350.00
                                          statement
01/30/18   J. A. Wright III        1.70   Review and revise December          1,190.00
                                          invoices
01/31/18   R.M. Fallon             0.20   Discuss December fee                    50.00
                                          statement with J. Wright
01/31/18   J. A. Wright III        1.30   Review and revise December            910.00
                                          invoices for confidentiality and
                                          privilege
01/31/18   J. A. Wright III        0.30   Emails with KLG internal billing      210.00
                                          team regarding same
01/31/18   J. A. Wright III        0.20   Email R. Hosking regarding            140.00
                                          budget and December invoices
01/31/18   J. A. Wright III        0.30   Confs. with D. Mawhinney and          210.00
                                          B. Fallon regarding December
                                          invoices and second interim fee
                                          application
17-10751-mew       Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56       Exhibit J-2
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                                                                           Invoice # 3485635
                                                                              0236915.00043
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                          TOTAL FEES                  58.90 hrs             $    30,622.00


                                  TIMEKEEPER SUMMARY

R.M. Fallon                        11.40     hrs at   $    250.00   / hr          2,850.00
R. W. Hosking                       5.40     hrs at   $    700.00   / hr          3,780.00
L. C. Lanpher                       0.50     hrs at   $    700.00   / hr            350.00
D. A. Mawhinney                     6.70     hrs at   $    370.00   / hr          2,479.00
A. R. D. Paine                      9.90     hrs at   $    370.00   / hr          3,663.00
T. M. Reiter                        5.00     hrs at   $    700.00   / hr          3,500.00
T. C. Ryan                          8.10     hrs at   $    700.00   / hr          5,670.00
J. A. Wright III                   11.90     hrs at   $    700.00   / hr          8,330.00
                          TOTAL FEES                  58.90 hrs             $    30,622.00
17-10751-mew                     Doc 3209-11                 Filed 05/15/18 Entered 05/15/18 08:54:56                                                       Exhibit J-2
                                                           Time Records Pg 29 of 38
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      March 29, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3496562
Cranberry Township, PA 16066                                                                  Services Through                     :      February 28, 2018




0236915.00043                      Non-adverse corporate matters



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $         19,916.00
Disbursements and Other Charges                                                                                                                  $            104.26

CURRENT INVOICE DUE                                                                                                                              $         20,020.26




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew    Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56       Exhibit J-2
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                                                                        Invoice # 3496562
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                                          FEES

DATE       NAME                  HOURS      DESCRIPTION                       AMOUNT
02/02/18   A. R. D. Paine         1.80      Review and summarize new            666.00
                                            docket entries representing
                                            significant developments in
                                            bankruptcy case over the past
                                            week and circulate summary to
                                            interested attorneys
02/05/18   J. A. Wright III        0.10     Emails with T. Ryan regarding          70.00
                                            second interim fee application
02/05/18   J. A. Wright III        0.10     Emails with D. Mawhinney               70.00
                                            regarding second interim fee
                                            application
02/05/18   J. A. Wright III        0.20     Revisions to second interim fee      140.00
                                            application
02/06/18   T. C. Ryan              0.50     Address comments from                350.00
                                            debtor's counsel to interim fee
                                            application
02/06/18   J. A. Wright III        0.50     Call with R. Hosking regarding       350.00
                                            December invoice revisions
02/06/18   J. A. Wright III        0.20     Emails with R. Hosking               140.00
                                            regarding invoice revisions
02/06/18   J. A. Wright III        0.30     Emails with billing team             210.00
                                            regarding invoice revisions
02/06/18   J. A. Wright III        0.20     Revisions to December invoices       140.00
02/06/18   J. A. Wright III        0.30     Revisions to budget projection       210.00
02/06/18   J. A. Wright III        0.10     Call with T. Reiter regarding         70.00
                                            budget
02/06/18   J. A. Wright III        0.10     Emails with D. Mawhinney               70.00
                                            regarding budget
02/07/18   R.M. Fallon             2.30     Review and follow up on              575.00
                                            attorney reports regarding
                                            supplemental disclosures re
                                            K&L employment application
02/07/18   R.M. Fallon             0.20     Discuss and review with J.             50.00
                                            Wright attorney reports
                                            regarding supplemental
                                            disclosures re K&L employment
                                            application
02/07/18   R.M. Fallon             0.20     Review draft of Second Interim         50.00
                                            Fee Application
02/07/18   R.M. Fallon             0.20     Discuss December monthly fee           50.00
                                            statement with D. Mawhinney
02/07/18   R.M. Fallon             0.40     Correspond with attorneys            100.00
                                            regarding supplemental
                                            disclosure re employment
                                            application
02/07/18   R.M. Fallon             1.80     Attention to Second Interim Fee      450.00
                                            Application and exhibits
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DATE       NAME                  HOURS    DESCRIPTION                       AMOUNT
02/07/18   D. A. Mawhinney        0.90    Revise second interim fee           333.00
                                          application
02/07/18   D. A. Mawhinney         0.80   Revise budget and staffing plan      296.00
02/07/18   J. A. Wright III        0.40   Revise second interim fee            280.00
                                          application
02/07/18   J. A. Wright III        0.30   Conf. with D. Mawhinney              210.00
                                          regarding revisions to fee
                                          application
02/07/18   J. A. Wright III        0.30   Calls with D. Mawhinney re           210.00
                                          budget and fee application
02/07/18   J. A. Wright III        0.10   Revise draft budget projection        70.00
02/07/18   J. A. Wright III        0.10   Email T. Ryan regarding same          70.00
02/08/18   R.M. Fallon             2.40   Attention to Second Interim Fee      600.00
                                          Application and exhibits
02/08/18   R.M. Fallon             0.40   Follow up emails regarding           100.00
                                          supplemental employment
                                          disclosures
02/08/18   R.M. Fallon             1.10   Attend to second interim fee         275.00
                                          application exhibits and e-mail
                                          D. Mawhinney re same
02/08/18   J. A. Wright III        0.30   Call with T. Ryan regarding          210.00
                                          budget and second interim fee
                                          application
02/08/18   J. A. Wright III        0.10   Revise budget and email same           70.00
                                          to T. Ryan
02/09/18   R.M. Fallon             1.20   Update professional fee              300.00
                                          spreadsheet
02/09/18   R.M. Fallon             1.10   Request and review detail            275.00
                                          regarding December
                                          disbursement for December fee
                                          statement
02/09/18   R.M. Fallon             2.00   Prepare December monthly fee         500.00
                                          statement and cover letter
02/09/18   R.M. Fallon             0.70   Revisions to December monthly        175.00
                                          fee statement
02/09/18   A. R. D. Paine          2.00   Review and summarize new             740.00
                                          docket entries representing
                                          significant developments in
                                          bankruptcy case over the past
                                          week and circulate summary to
                                          interested attorneys
02/09/18   T. C. Ryan              0.40   Review and revise budget             280.00
02/12/18   R.M. Fallon             1.80   Follow up on remaining               450.00
                                          supplemental disclosures and
                                          update exhibit
02/12/18   R.M. Fallon             1.00   Review case docket re                250.00
                                          applications to employ counsel
                                          and discuss with J. Wright
02/12/18   T. C. Ryan              0.50   Review January proformas to          350.00
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DATE       NAME                  HOURS    DESCRIPTION                           AMOUNT
                                          conform with trustee guidelines
02/13/18   R.M. Fallon             4.30   Work with D. Mawhinney                1,075.00
                                          regarding compilation of Second
                                          Interim Fee Application exhibits
02/13/18   R.M. Fallon             0.20   Call SDNY clerk's office                  50.00
                                          regarding e-filing issue with
                                          Second Interim Fee Application
                                          exhibit
02/13/18   D. A. Mawhinney         1.30   Review, revise, and file Second         481.00
                                          Interim Fee Application
02/13/18   D. A. Mawhinney         1.80   Coordinate filing and service of        666.00
                                          second interim fee application
02/13/18   D. A. Mawhinney         0.70   Participate in conferences with         259.00
                                          UST, lead bankruptcy counsel
                                          regarding hearing on second
                                          interim fee application
02/13/18   D. A. Mawhinney         0.40   Draft and file affidavit of service     148.00
02/13/18   D. Meyers               0.90   Prepare binder of second                225.00
                                          interim fee application and
                                          exhibits and hand deliver hard
                                          copy of the same to US Trustee
                                          for 4:30 deadline
02/13/18   J. A. Wright III        0.20   Call with D. Mawhinney                  140.00
                                          regarding fee application
02/13/18   J. A. Wright III        0.20   Conf. with T. Ryan regarding            140.00
                                          January invoice revisions and
                                          fee application
02/14/18   R.M. Fallon             0.90   Revisions to December monthly           225.00
                                          fee statement
02/14/18   R.M. Fallon             0.40   Compile exhibits for December           100.00
                                          monthly fee statement
02/14/18   R.M. Fallon             0.70   Further research regarding              175.00
                                          professionals
02/14/18   R.M. Fallon             0.70   Summarize for J. Wright                 175.00
                                          findings regarding professional
                                          fees
02/15/18   R.M. Fallon             0.30   Update professional fee                   75.00
                                          spreadsheet
02/15/18   D. A. Mawhinney         1.10   Review and revise December              407.00
                                          monthly fee statement
02/15/18   T. M. Reiter            0.80   Review T. Ryan email and                560.00
                                          attachments
02/15/18   T. C. Ryan              0.70   Follow up with client on fee            490.00
                                          statement, interim fee
                                          application
02/15/18   T. C. Ryan              0.50   Follow up on client request for         350.00
                                          documentation from prior
                                          assignment
02/16/18   A. R. D. Paine          2.60   Review and summarize new                962.00
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DATE        NAME                      HOURS      DESCRIPTION                         AMOUNT
                                                 docket entries representing
                                                 significant developments in
                                                 bankruptcy case over the past
                                                 week and circulate summary to
                                                 interested attorneys
02/19/18    T. M. Reiter               1.30      Prepare for and conference with       910.00
                                                 T. Ryan regarding insurance
                                                 issues on employment claim
02/20/18    R.M. Fallon                0.20      Review updated disclosures re           50.00
                                                 K&L employment
02/20/18    T. M. Reiter               1.30      Review mechanics regarding            910.00
                                                 insurance claim and email to T.
                                                 Ryan regarding same
02/23/18    A. R. D. Paine             2.90      Review and summarize new            1,073.00
                                                 docket entries representing
                                                 significant developments in
                                                 bankruptcy case over the past
                                                 week and circulate summary to
                                                 interested attorneys
02/26/18    D. A. Mawhinney            0.50      General invoice 80/100                185.00
                                                 breakdown for client
02/26/18    J. A. Wright III           0.30      Review January invoices for           210.00
                                                 confidentiality and privilege
02/26/18    J. A. Wright III           0.10      Emails with R. Hosking                  70.00
                                                 regarding January invoices
                               TOTAL FEES                 52.70 hrs              $   19,916.00


                                    TIMEKEEPER SUMMARY

R.M. Fallon                             24.50   hrs at   $    250.00   / hr           6,125.00
D. A. Mawhinney                          7.50   hrs at   $    370.00   / hr           2,775.00
D. Meyers                                0.90   hrs at   $    250.00   / hr             225.00
A. R. D. Paine                           9.30   hrs at   $    370.00   / hr           3,441.00
T. M. Reiter                             3.40   hrs at   $    700.00   / hr           2,380.00
T. C. Ryan                               2.60   hrs at   $    700.00   / hr           1,820.00
J. A. Wright III                         4.50   hrs at   $    700.00   / hr           3,150.00
                               TOTAL FEES                52.70 hrs              $    19,916.00



                           DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                          AMOUNT
Long Distance Courier                                                                   98.76
Travel Expenses                                                                          5.50
                               DISBURSEMENTS & OTHER CHARGES                    $      104.26
17-10751-mew                     Doc 3209-11                 Filed 05/15/18 Entered 05/15/18 08:54:56                                                       Exhibit J-2
                                                           Time Records Pg 34 of 38
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      April 30, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3508172
Cranberry Township, PA 16066                                                                  Services Through                     :      March 31, 2018




0236915.00043                      Non-adverse corporate matters



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $         23,538.00
Disbursements and Other Charges                                                                                                                  $             98.26

CURRENT INVOICE DUE                                                                                                                              $         23,636.26




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew    Doc 3209-11     Filed 05/15/18 Entered 05/15/18 08:54:56        Exhibit J-2
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                                          FEES

DATE       NAME                  HOURS      DESCRIPTION                        AMOUNT
03/01/18   D. A. Mawhinney        0.50      Draft email to client regarding      185.00
                                            Order approving second interim
                                            fee application
03/02/18   A. R. D. Paine          2.30     Review and summarize new              851.00
                                            docket entries representing
                                            significant developments in
                                            bankruptcy case over the past
                                            week and circulate summary to
                                            interested attorneys
03/05/18   D. A. Mawhinney         0.30     Draft email to client regarding       111.00
                                            December invoices
03/07/18   R.M. Fallon             0.40     Receive and review invoices           100.00
                                            regarding January monthly fee
                                            statements
03/07/18   R.M. Fallon             0.20     Discuss with D. Mawhinney               50.00
                                            invoices for January monthly fee
                                            statements
03/07/18   R.M. Fallon             3.60     Work on Professional Fee              900.00
                                            spreadsheet regarding January
                                            2015 fees and disbursements
                                            for monthly fee statement
03/08/18   R.M. Fallon             3.20     Prepare January 2018 monthly          800.00
                                            fee statement
03/08/18   R.M. Fallon             0.80     Prepare WEC internal January          200.00
                                            2018 monthly fee statement
03/08/18   R.M. Fallon             0.40     Revise January 2018 monthly           100.00
                                            fee statement
03/08/18   R.M. Fallon             0.30     Prepare January 2018 monthly            75.00
                                            fee statement cover letter
03/08/18   R.M. Fallon             0.40     Compile exhibits for January          100.00
                                            2018 monthly fee statement
03/09/18   R.M. Fallon             0.10     Calendar confirmation deadlines         25.00
03/09/18   R.M. Fallon             0.10     Review supplemental disclosure          25.00
                                            schedule
03/09/18   D. A. Mawhinney         0.90     Draft, file January Monthly Fee       333.00
                                            Statement
03/09/18   A. R. D. Paine          1.00     Review and summarize new              370.00
                                            docket entries representing
                                            significant developments in
                                            bankruptcy case over the past
                                            week and circulate summary to
                                            interested attorneys
03/11/18   J. A. Wright III        0.30     Revise supplemental K&L Gates         210.00
                                            declaration
03/12/18   J. A. Wright III        0.10     Email R. Hosking regarding              70.00
                                            supplemental declaration
03/12/18   J. A. Wright III        0.20     Call with T. Ryan                     140.00
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DATE       NAME                  HOURS    DESCRIPTION                        AMOUNT
03/13/18   T. C. Ryan             1.10    Review and revise fee                770.00
                                          statement for conformity with
                                          trustee guidelines
03/14/18   T. M. Reiter            0.70   Review T. Ryan email and              490.00
                                          background materials
03/15/18   T. M. Reiter            1.20   Prepare for and telephone             840.00
                                          conference with client regarding
                                          insurance coverage for
                                          employment claim
03/15/18   T. M. Reiter            1.00   Emails regarding covereage            700.00
03/15/18   T. M. Reiter            1.50   Review policy and                   1,050.00
                                          correspondence and claim
                                          documents
03/15/18   T. M. Reiter            0.90   Draft response to AIG                 630.00
03/15/18   T. C. Ryan              1.30   Review and revise fee                 910.00
                                          statement
03/15/18   J. A. Wright III        1.00   Review and revise February            700.00
                                          time entries
03/16/18   R.M. Fallon             0.40   Extract copies of "as filed"          100.00
                                          invoices for T. Ryan
03/16/18   A. R. D. Paine          2.90   Review and summarize new            1,073.00
                                          docket entries representing
                                          significant developments in
                                          bankruptcy case over the past
                                          week and circulate summary to
                                          interested attorneys
03/16/18   T. M. Reiter            0.50   Emails regarding letter               350.00
03/16/18   T. M. Reiter            0.30   Telephone conference with             210.00
                                          client
03/19/18   T. M. Reiter            0.30   Email to client regarding AIG         210.00
03/19/18   T. M. Reiter            0.10   Telephone conference with T.           70.00
                                          Ryan regarding AIG
03/19/18   J. A. Wright III        1.00   Review and revise February            700.00
                                          time entries for privilege and
                                          confidentiality
03/20/18   J. A. Wright III        0.40   Review and comment on                 280.00
                                          February time entries
03/21/18   T. M. Reiter            0.70   Review AIG email and client           490.00
                                          emails
03/21/18   T. M. Reiter            1.10   Draft response to AIG                 770.00
03/22/18   R.M. Fallon             0.20   Receive payment information on         50.00
                                          professional fees
03/22/18   R.M. Fallon             1.40   Update professional fee               350.00
                                          statement re payments and
                                          monthly summaries
03/22/18   T. M. Reiter            1.00   Telephone conference with             700.00
                                          client regarding AIG
03/22/18   T. M. Reiter            0.80   Review emails and reply to            560.00
                                          same regarding AIG
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DATE       NAME                     HOURS    DESCRIPTION                         AMOUNT
03/23/18   R.M. Fallon               0.20    Reformat Excel spreadsheet for        50.00
                                             Supplemental Disclosure
                                             Statement
03/23/18   R.M. Fallon                0.40   Efile Supplemental Disclosure         100.00
                                             Statement re K&L Employment
                                             Application
03/23/18   A. R. D. Paine             1.70   Review and summarize new              629.00
                                             docket entries representing
                                             significant developments in
                                             bankruptcy case over the past
                                             week and circulate summary to
                                             interested attorneys
03/23/18   J. A. Wright III           0.50   Revise supplemental                   350.00
                                             declaration
03/23/18   J. A. Wright III           0.20   Emails with R. Fallon regarding       140.00
                                             same
03/23/18   J. A. Wright III           0.10   Emails with KCC regarding               70.00
                                             same
03/26/18   R.M. Fallon                0.30   Download plan and confirmation          75.00
                                             related pleadings
03/26/18   R.M. Fallon                0.10   Prepare hearing binder index for        25.00
                                             confirmation hearing
03/26/18   R.M. Fallon                0.10   Coordinate re D. Myer regarding         25.00
                                             preparation of confirmation
                                             hearing binder
03/26/18   T. M. Reiter               0.50   Review emails regarding               350.00
                                             settlement and reply to same
03/26/18   T. M. Reiter               0.20   Conference with T. Ryan               140.00
03/27/18   T. C. Ryan                 1.30   Prepare for and participate in        910.00
                                             conference with client on
                                             buildout and enhancement of
                                             compliance program
03/28/18   T. C. Ryan                 3.50   Review and revise February fee      2,450.00
                                             statement in conformance with
                                             trustee guidelines
03/29/18   T. C. Ryan                 1.30   Review and revise February pro        910.00
                                             formas to conform with trustee
                                             guidelines
03/30/18   A. R. D. Paine             1.80   Review and summarize new              666.00
                                             docket entries representing
                                             significant developments in
                                             bankruptcy case over the past
                                             week and circulate summary to
                                             interested attorneys
                              TOTAL FEES              47.10 hrs              $   23,538.00
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                                                                           Invoice # 3508172
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                                  TIMEKEEPER SUMMARY

R.M. Fallon                        12.60     hrs at   $    250.00   / hr          3,150.00
D. A. Mawhinney                     1.70     hrs at   $    370.00   / hr            629.00
A. R. D. Paine                      9.70     hrs at   $    370.00   / hr          3,589.00
T. M. Reiter                       10.80     hrs at   $    700.00   / hr          7,560.00
T. C. Ryan                          8.50     hrs at   $    700.00   / hr          5,950.00
J. A. Wright III                    3.80     hrs at   $    700.00   / hr          2,660.00
                          TOTAL FEES                  47.10 hrs             $    23,538.00



                         DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                      AMOUNT
Long Distance Courier                                                              98.26
                          DISBURSEMENTS & OTHER CHARGES                     $       98.26
